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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                Chapter 11

                                                      Case No.: 22-11068 (JTD)
                                  1
FTX TRADING LTD., et al.                              (Jointly Administered)

                          Debtors.                    Hearing Date: July 17, 2024 at 1:00 p.m.
                                                      Objection Deadline: July 10, 2024 at 4:00 p.m.



                   NOTICE OF MOTION OF PLAY MAGNUS AS FOR
                 ORDER DEEMING PROOF OF CLAIM AS TIMELY FILED

         PLEASE TAKE NOTICE, that on June 24, 2024 Play Magnus AS (“Magnus”) filed a

motion with the United States Bankruptcy Court for the District of Delaware for Order Deeming

Magnus’ Proof of Claim No. 5708 as Timely Filed (the “Motion”).

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief sought in the

Motion must be (a) in writing and served on or before July 10, 2024 at 4:00 p.m. (EDT) the

(“Objection Deadline”); (b) filed with the Clerk of the United States Bankruptcy Court for the

District of Delaware, 824 N. Market Street, 3rd Floor, Wilmington, DE 19801; and (c) served as

to be received on or before the Objection Deadline by the undersigned counsel.

         PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE MOTION WILL

BE HELD ON July 17, 2024 at 1:00 p.m. (EDT) BEFORE THE HONORABLE JOHN

T. DORSEY, UNITED STATES BANKRUPTCY JUDGE FOR THE UNITED STATES




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  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are
3288 and 4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a
complete list of the Debtors and the last four digits of their federal tax identification numbers is not provided
herein. A complete list of such information may be obtained on the website of the Debtors’ claims and
noticing agent at https://cases.ra.kroll.com/FTX.
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BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 N. MARKET STREET,

5TH FLOOR, COURTROOM #5, WILMINGTON, DE 19801.

       IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE

COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT

FURTHER NOTICE OR HEARING.


Dated: June 24, 2024                  CROSS & SIMON, LLC

                                       /s/ Kevin S. Mann
                                       Kevin S. Mann (No. 4576)
                                       1105 North Market Street, Suite 901
                                       Wilmington, DE 19801
                                       (302) 777-4200
                                       kmann@crosslaw.com

                                       Counsel for Play Magnus AS




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